         Case 1:16-cv-00347-JMS-RLP Document 154 Filed 10/05/17 Page 1 of   1 tN PageID
                                                                         FILED    rut     #:
                                            1022                UNITED states  DiSTRICT COURT "
                                                                                                          DISTRICT OF HAA'AII
AO 440(Rev.06/12) Sununons in a Civil Action (Page 2)                                                            _

 Civil Action No. 1:16-cv-00347-JMS-RLP                                                               ^         ''                  a
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                                                                                                   al_rLo clock and          min.   0M
                                                   PROOF OF SERVICE                           SUE beitia, CLERK"9r
                    (This section should not befiled with the court unless required by Fed.R. Civ. P. 4(I))

          This summons for(name ofindividual and title, ifany) Apartmfint Owners of Diamond Head Sands
 was received by me on (date)                   10/02/2017


          O I personally served the summons on the individual at(place)
                                                                               on (date)                              ; or

          □ I left the summons at the individual's residence or usual place of abode with (name)
                                                                , a person of suitable age and discretion who resides there,
           on (date)                             , and mailed a copy to the individual's last known address; or

          ^ I served the summons on (name ofindividual) Pamela J. Schell, Esq.                                                      »who is
           designated by law to accept service of process on behalf of (name of organization) Apartment Owners of Diamond
          Heads Sands at 733 Bishop St #2301. Honolulu HI 96813                on           OCT 04 2017 AT            i or
                                                                                            2:19 PM
          □ 1 returned the summons unexecuted because                                                                                  ; or

          O Other (specify):




          My fees are $                          for travel and $                    for services, for a total of $           o.OO

          I declare under penalty of pepury that this information is true.


Date:     OCT 04 2017
                                                                                           Server's signature
                                                                                    Tad Y. GiZ
                                                                                    Civ;l Pf^ocesd Server
                                                                                        Printed name and title


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                                                                                      Hono.uli:, Hi 96828
                                                                                         (8C8) 729-1778
                                                                                           Server's address


Additional information regarding attempted service, etc:
 Documents Served:
 Defendant and Third Party Plaintiff Apt-320, LLC's Third Party Complaint Against Association of Apartment Owners of
 Diamond Head Sands: Summons; Certificate of Service
